Case 2:05-md-01657-EEF-DEK Document 55947-1 Filed 11/16/10 Page 1 of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

Docket No. 2:06-cv-06436

In re: Vioxx® * MDL Docket No. 1657
Product Liability Litigation *
* SECTION L
This document relates to: *
*
Hazel L. Baker, et al. * JUDGE FALLON
v. *
Merck & Co., Inc., et al. * MAGISTRATE JUDGE KNOWLES
*
Only with regard to: *
Laquinta Pinkston *
*
*
*
*

ARR kkk kkk bokk ok ok

ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Laquinta Pinkston in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own
costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
